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 16
                            UNITED STATES DISTRICT COURT
 17                        CENTRAL DISTRICT OF CALIFORNIA
 18
    PENSMORE REINFORCEMENT
 19 TECHNOLOGIES, LLC
 20 d/b/a HELIX STEEL,                          Case No. 5:21-cv-1556-JWH-SHK

 21             Plaintiff / Counterdefendant,   STIPULATION TO VACATE ALL
 22                                             PRE-TRIAL DEADLINES AND
           v.                                   THE TRIAL DATE IN VIEW OF
 23                                             PARTIES’ SETTLEMENT IN
 24 CORNERSTONE MANUFACTURING                   PRINCIPLE
    AND DISTRIBUTION, INC.,
 25
 26        Defendant / Counterclaimant.

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  1           On August 14, the parties engaged in their fourth settlement conference with
  2 Magistrate Judge Kewalramani. Later that evening following the settlement
  3 conference, the parties reached a settlement in principle pursuant to the terms of an
  4 agreed detailed terms sheet submitted to Judge Kewalramani. (See Dkt. No. 147,
  5 Minutes.) In view of their settlement in principle, the parties agree and respectfully
  6 request that the Court VACATE all pre-trial deadlines and the trial date. The parties
  7 believe that their time, efforts and resources are better directed to finalizing the formal
  8 settlement agreement rather than preparing for pre-trial and trial proceedings. The
  9 parties are working to formalize a Settlement Agreement according to the following
 10 schedule:
 11                           Date                                               Deadline
 12
      August 18, 2023                                           Plaintiff to provide Defendant with Draft
 13
                                                                Exhibits to Settlement Agreement
 14
      August 25, 2023                                           Plaintiff to provide Defendant with a draft
 15
                                                                formal Settlement Agreement
 16
 17 August 30, 2023                                             Defendant to provide Plaintiff red-line of
 18                                                             Settlement Agreement
 19 September 1, 2023                                           Plaintiff to provide Defendant with draft
 20                                                             of Settlement Agreement (in red-line if
 21                                                             necessary)
 22
      September 12, 2023                                        Parties Execute Settlement Agreement
 23
 24
 25
 26           SO STIPULATED on August 16, 2023.
 27
 28
      Stipulation to Vacate Pre-Trial Deadlines and Trial
      Date                                                  2                5:21-cv-01556-JWH-SHK
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  2
                                                       By: /s/ James K. Cleland
  3                                                          James K. Cleland
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                                                       HOVEY WILLIAMS LLP
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                                                       By: /s/ Scott R. Brown (with permission)
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 11   4864-0519-9992 v1 [92120-56]

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      Stipulation to Vacate Pre-Trial Deadlines and Trial
      Date                                                  3            5:21-cv-01556-JWH-SHK
